Case 1:07-cv-01050-HFB Document 1-1 Filed 06/11/07 Page 1 of 50 Page|D #: 1

IN THE CIRCUIT COURT OF ASHLEY COUNTY, ARKANSAS

LARRY MCKINZ[E
PLAINTIFF

vs. No.CV06-212-3

DEFENDANT
UNION PLAINTERS BANK, JOI'IN DOE

I, BOB RUSH, Clerk of Circuit Court of Ashley County, Arkansas, do hereby
certify that the foregoing arc true correct photocopies of the pleadings of said Court as

the same appears of record in this office.
WITNESS, my hand and official court seal on this day: JUNE 5 2007

BOB\I?¢SH, CIRCUIT CLERK
By: \_L,\t_x.i_ J&UQD..C

 

 

Ashlcy County
Harnburg, AR 71646
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IN THE CIRCUIT COURT OF AHSLEY COUNTY, ARKANSAS

Civil Division
LARRY McKINZIE, lease No.: Cv-2006- owcp 13
PLAINTIFF
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v. Fl D R REC%D_

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UNIoN PLANTERS BANK. N.A.; JoHN
DOE, SEP 22 2006

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DEFENDANTS B USH ‘RCU

 

 

Comes now, Larry McKinzie, by and through his attomey, Michael D. Ray and Chuck

Gibson, and States as follows for his Complaint:

l.

2.

That Larry McKinzie is an individual resident of Jefferson County, Arkansas.

That Union Planters Bank, N.A. is a domestic corporation regularly operating and
doing business within the state of Arkansas including Ashley County.

That one or more of the John Doe Defendants is believed to be domestic'banking
institution bearing the “Regions” name, that regularly does business in Arkansas,
including Ashley County. Additionally, there is another John Doe defendant based
upon belief and information that Union Planters Bank, N.A. has been sold or
merged into another entity, unknown at this time. For clarity purposes only, the
John Doe defendants will be referred to as Regions John Doe and the Union
Planters John Doe, respectively The Affidavit of counsel regarding the John Doe
defendants is attached as an exhibit to this Complaint.

That this court has jurisdiction over the parties and subject matter of this case and
venue is predicated upon A.C,A. 16-60-108 and 16-60-113(b) in that Union

Planters Banlc, N.A. has asserted debts in its favor in Ashley County and has

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brought litigation against Plaintiff in Ashley County. In the event Union Planters
has been sold or merged, then its successor in interest is subject to the same venue
provisions

5. That on or about August 30, 2004, a Complaint was filed by Union Planters Bank,
N.A. [“Union Planters”] against Larry McKinzie, alleging that Larry McKinzie
entered into a contract with the Union Planters in the sum of $13,250.00 plus
interest at the rate of l 1% per annum. See Ashley Circuit No.CV-04-219-2.

6. That the Plaintiff has never done business with the Defendants at any time. During
the discovery of the above mentioned lawsuit it was learned by the Plaintiff that
Union Planters’ agents, officers, directors and/or employees, namely Allen
Williams and possibly others, were engaging in a scheme with K&B Auto Sales
[K&B], a domestic used car dealership that had a regular business relationship
with Union Planters.

7. That the scheme was such that K&B and the Defendant would create phony
documents for the sale of automobiles and other loans. Such documents were
created using Plaintiff’s name and likeness, with forged signatures notarized by
Defendant’s employee Angela K. Tinsley, Notary Public. The documents included
but may not be limited to credit applications and powers of attomey. Many
documents were countersigned by Allen Williams, Defendant’s loan officer and
employee. At no time did Plaintiff authorize said documents cr benefit from their
use.

8. That the scheme was such that the documents provided a mechanism where money

would transfer from Union Planters to K&B under the illusion of Selling and

Page | 2

Case 1:07-cv-01050-HFB Document 1-1 Filed 06/11/07 Page 4 of 50 Page|D #: 4

10.

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12.

13.

financing an automobile The scheme worked to the detriment of those defrauded
That the Defendant, by virtue of the involvement of its employee loan officers and
others and subsequent unsuccessful lawsuit, was aware of the scheme and a direct
and Willing participant

That the phony loans falsely created in the name of the Plaintiff went into default
resulting in the above mentioned lawsuit

That the scheme was brought to light in the discovery process in said lawsuit,
resulting in the Defendant filing for voluntary non-suit, which was granted on
September 30, 2005 by the court, and filed for record on October 13, 2005. [See
Ashley Circuit No.CV-04-219-2].

That prior to the Defendant filing suit on the phony loans the Union Planters and
or its agents made negative credit comments on Plaintiff’s credit report to the
various credit reporting agencies Said comments ultimately resulted in the denial
of credit to the Plaintiff.

That the Plaintiff was completely unaware of said fraudulent scheme at all times.
That the Defendant Was informed by the Plaintif`f prior to the initial litigation that
he had never done business with them and that any such signatures and/or
documents were not genuine Defendant continually harassed the Plaintiff over
said bogus notes, being fully aware of their false character and of their fraudulent
creation. Nevertheless, the Defendant pursued the litigation and continued to make
false credit entries.

In addition to the foregoing scheme with Union Planters, the Plaintiff also received

dunning notices and similar harassments from an entity named “Regions”. Based

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l4.

15.

16.

upon information and belief a bogus contract in Plaintiff’s name was executed in
favor of John Doe Regions, upon Which John Doe Regions sought collection. John
Doe Regions did not file suit, however, and Plaintiff has no documents of
substance to properly identify the actual identity of the John Doe Regions entity.
Upon information and belief John Doe Regions made negative comments
regarding Plaintiff’s credit to various reporting agencies Said credit reports were
false and slanderous
COUNT I
TORT - INVASION OF PRIVACY
All Defendants
That by deceptively doing business in the Plaintiff’s name, the defendants have
committed the tort of invasion of privacy. Plaintiff’s likeness was unknowingly
used to his detriment resulting in being sued [only Union Planters filed Suit],
expending moneys for attorneys fee, negative credit comments resulting in credit
denials, and other similar occurrences
That the tort subjects the Defendants to liability under Arkansas law for
compensatory, consequential and punitive damages for which Defendants’ conduct
is a direct proximate cause.

COUNT II
TORT - MALICIOUS PROSECUTION
Union Planters and/or Successor, John Doe Union Planters
That the lawsuit filed by Union Planters against the Plaintiff on the bogus
fraudulent scheme resulted in a dismissal in Plaintiff’ s favor. Said suit was

frivolous and based entirely on the fraudulent ongoing scheme between the

Defendant and K&B. Plaintiff incurred compensatory and consequential damages

Page | 4

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for which Defendant’s conduct is a proximate cause. Punitive damages should

issue to deter similar conduct in the future.

COUNT III

STATUTORY CLAIM - FAIR CREDIT REOPRTING AC'I`

All Defendants

17. That falsely reporting the obligation that Union Planters Bank N.A. claimed was

owed by Larry McKinzie to his credit reporting agency constitutes a violation of

the Fair Debt Collection and Consumer Reporting Practices, 15 U.S.C. 1681,

et.seq. Defendant is liable for damages provided by said Act.

PRAYOR FOR RELIEF

18. WI-IEREFORE, Plaintif`f prays for a jury trial. Plaintif`f` prays for judgment over

and against the Defendants for each claim for damages allowed by Arkansas law, and for

punitive damages appropriate under Arkansas jurisprudence Plaintiff seeks

reimbursement for costs, attomey’s fees, and other similarly allowed relief

BY:

    

Chuck Gibson, AR 90030
Gibson Law Office

P.O. Box 510

103 North Freeman Street
Dermott, AR 71638
870-538-3288
870-538-5029 FAX

chuck@gibsonlawonline.com

MICHAEL D. RAY, AR 92146
The Ray Law Firm

P. O. Box 1123

Crossett, AR 71635
870-364-5176

870-364-6503 fx

Page | 5

. Case 1:07-cv-01050-HFB Document 1-1 Filed 06/11/07 Page 7 of 50 Page|D #: 7

IN THE CIRCUIT COURT OF AHSLEY COUNTY, ARKANSAS
Civil Division
LARRY McKINZIE,

Case No.: CV~2006-
PLAINTIFF

V. AFFIDAVIT OF CHUCK GIBSON

_ UNIoN PLANTERS BANK N.A.; JoHN
DoE,

nEFENDANTs

 

 

I, Chuck Gibson, of legal age and being first duly swom, state on oath:

l. I am co-counsel of record for Plaintiff Larry McKinzie, in the above-captioned matter.

2. I hereby swear or affirm that the identity of the John Doe tortfeasors described in the
Complaint is unknown at this time. When the identity of these tortfeasors becomes known, the Complaint
shall be amended to include the real name(s) of the tortfeasor(s) in accordance with Ark. Code Ann. § 16-
56-125 (1987).

FURTHER AFFIANT SAYETH NOT.

 

Chuck Gibson \ `__~..
STATE OF §§ fbi Q§Q 5 }

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COUNTY OF § §§('Q; }

Subscribed and sworn before me, the undersigned Notary Public within and for the above County

and sara this the BJQ_ day arm 2006.
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My commission expires

EXH|B|T

§ QX,|

Case 1:07-cv-01050-HFB Document 1-1 Filed 06/11/07 Page 8 of 50 Page|D #: 8

Gibson Law Office
103 North Freeman Street
Post Office Drawer 510
Dermott, Arkansas 71638-0510

John F. Gibson Sr. Te|ephone
(1916-1980)l (870) 538-3288

Char|es Sidney Gibson Facsimi|e
Chuck Glbson (870) 538-5029

 

September 19, 2006

Bob Rush

Ashley County Circuit Clerk
205 East Jefferson Street
I-Iamburg, AR 71646

RE: Larry McKinzie v. Union Planters Bank, N.A.; John Doe
Ashrey County Circuit Na. CV.2006- .a.l 3- »:‘>

Dear Mr. Rush
Please find enclosed Complaint with Affidavit, Cover Sheet and Summons for the above
referenced matter. Please file and return a file-marked copy back to this office in the enclosed a

self-addressed stamped envelope at your earliest convenience

Please send original summons back to this office for service. Also enclosed is our check in the
amount of $140.00 for filing fee. Thank you.

Yours truly
baueb»baamldllmlo
Chuck Gibson
CSG/dc ‘
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Enclosures

SEP 22 2005

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Case 1:07-cv-01050-HFB Document 1-1 Filed 06/11/07 Page 9 of 50 Page|D #: 9

lN THE C|RCU|T COURT OF ASHLEY COUNTY, ARKANSAS
S U M M 0 N S

PLAlNTlFFI vs. NO. CV-ZOOB- é/CQ he DEFENDANTZ

Larry McKinzie Union Planters Bank

PLA|NTIFF‘S ATTORNEY: Chanes Sidney Gibson #70027
Gibson Law Oftice
103 North Freeman. Drawer 510
Dormott, Arkansas 71638-0510

TO THE ABOVE NAMED DEFENDANT: Union Planters Bank

1. You are hereby notified that a lawsuit has been filed against you by the above named plaintiff; the relief asked is stated in the attached
complaint

2. The attached complaint will be considered admitted by you and a judgment by default may be entered against you for the relief asked in
the complaint unless you tile a pleading and thereafter appear and present your defense Your pleading or answer must meet the
following requirementsl
A. lt must be in writing, and otherwise comply with the An<ansas Ru|es cf Civi| Procedure.

B_ lt must be filed in the Court C|erk's office within 20 days from the day you were served with this Surnmons.

3. if you desire to be presented by'an attornsy, you should immediately contact your attorney so that an answer can be filed for you within
the time allowedl

4. Additional notices:
W|TNESS my hand and the seal of the court this the

COUNTY COURTHOUSE
ARKANSAS

 

 

(sEAL)

 

RECEIVED Shel’iff

By D.S. on

 

STATE OF ARKANSAS
COUNTY OF

On the day of , 20 . at ' o‘c|ock .m., l have duly

served the within Summons by delivering a copy thereof (or stating the substance thereof), together with a

copy of the complaint to
such person being: ` the person named therein as defendant

a member of defendants family above 14 years of age at defendants usual place of
abode, namely
the duly designated agent for service of process for the defendantl namely

 

 

SHERlFF

 

By

 

Returned day of 2006.
Circuit Clerk
By: D.C.

 

Case 1:07-cv-01050-HFB Document 1-1 Filed 06/11/07 Page 10 of 50 PagelD #: 10

IN THE CIRCUIT COURT OF ASHLEY COUNTY, ARKANSAS
Civ'il Division

 

LARRY McKINZIE PLAINTIFF
VS. NO. CIV-06-212-3
UNION PLANTERS BANK, N. A.;]OHN'DOE DEFENDANT

 

MOTION TO EXTEND TIME TO SERVE DEFENDANT

 

Comes novtr the Plaintiff by and through his attorneys for record Michael D. Ray and
Chuck Gibson, and for his Motion for Extension of time to tender service does state as follows:

1. That on September 22, 2006, Larry McKinzie filed suit in the Circuit Court of
Ashley County, Arkansas against Union Planters Bank, N.A.; John Doe alleging invasion of
privacy and malicious prosecution, abusing the Fair Credit Reporting Act, past, present and
future pain, suffering, and mental anguish all as a result of the actions and conduct of
Defendant

2. Since that time the Plaintiff has attempted to serve Defendant in accordance with
the Arkansas Rules of Civil Procecd, Rule 4.

3. Pursuant to A. R. C. P. Rule 4, Subsection 1, Plaintiff has 120 days to tender
service upon the Defendant

4. The Plaintiff has not been able to tender service over the Defendant and Plaintiff
reasonably fears that Plaintiff vvill be unable to procure service within the 120 clay time limitation
set by Rule 4.

5. The Plaintiff’s efforts to obtain service over the Defendant have been both
reasonable and diligent.

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Case 1:07-cv-01050-HFB Document 1-1 Filed 06/11/07 Page 11 of 50 PagelD #: 11

a. That the Plaintiff mailed the complaint and summons to the bank manager at 300
Church St., jonesborro, Arkansas 72401 by certified return receipt postage prepaid United States
mail and Plaintiff is awaiting proof of service by return receipt mail.

b, That the Plaintiff has mailed the complaint and summons to a designated agent
by the name of lack Nall at 231 East Broadway, West Memphis, Arkansas 72301 that was listed
with the Arkansas Bank Department for Union Planters Bank and Plaintiff is awaiting proof of
service by return receipt mail.

Wherefore, Plaintist respectfully request permission from the Court for an extension of

time to continue to seek to obtain service over the Defendant

Respectt`ully S

 
 
  
   

 

 

. RAY, AR 92146

9 Main Street

P. O. Box 1123
Crossett, AR 71635
870-364-5176
870-364-6503 tax

mdra@alltel.net

CHUCK GIBSON, AR 90030
Gibson Law Off`rce

P. O. B ox 510

103 North Freeman Street
Dermott, AR 71638
870-538-3288

870-853-5029 Fax
chuck@gibsonlawonline.com

Case 1:07-cv-01050-HFB Document 1-1 Filed 06/11/07 Page 12 of 50 PagelD #: 12

THE RAY LAw FIRM, P.A.

MICHAEL D. RAY
ATTORNEY A'r LAW

December 22, 2006

Circuit Clerk’s Oche
205 E. _]et`t`erson
I-Iarnburg, AR 71646

RE: Larry McKinzie v. Union Planters Bank, NA
Ashley Circuit No.: CIV - 2006-212-3

Dear Clerk’s Oft`tce:
Enclosed you will find an original and one copy of Motion to Extend Time in regards to
the above matter. Please record and return a tile-marked copy back to me in the envelope I

have provided

I thank you for your ume.

Sincerely,

chrysai stick

Oche Assist:ant

R REC DM
Endosm o '__________c|ock
Cc: Chuck Gibson (Via Facsimile 870-538-5029)
DEC 2 7 2005
C UlT
By c

909 MAIN STREET/P.O. BOX 1123 'CR.OSSETT, AR ' 716.'55
PH.ONE: 870-364-5176 ' FAX: 870-364-65(}5

Case 1:07-cv-01050-HFB Document 1-1 Filed 06/11/07 Page 13 of 50 PagelD #: 13

IN THE CIRCUIT COURT OF ASHLEY COUNTY, ARKANSAS
Civil Division

 

LARRY McKINZIE PLAINTIFF

 

VS. NO. CIV-06-212»3
UNION PLANTERS BANK, N. A.;JOHN DOE DEFENDANT
AFFIDAVIT OF SERVICE

 

I, Michael D. Ray, Attorney for Plaintiff herein, do hereby certify that pursuant to Rule 4
of the Arkansas Rules of Civil Procedure, I have served the Complaint at LaW and Summons, by
delivering a true copy to the Defendant, Union Planters Bank, Bank President, by certified return
receipt U. S. Mail. Attached hereto is the returned receipt signed by Tamara Moore showing that

same Was received by the Defendant on the 21St day of December, 2006. FH_ED FOR REC RD
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WITNESS MY HAND this 4th day erranuary, 2007.

 

 

Ashtey County
State of Arka.nsas

Wimess my hand this 4th day erranuary, 2007.

My commission expires: AQQ/_ __

'\_l~ls,p,.. JANELLE SHUMPEF[T
§`,_. }~c;r_»_rv'-. ,g, Ashiey County ‘ Notary

=, K.FJS_L_§.;__ le Commission Expires
_ _ 29,2011

 

 

Case 1:07-cv-01050-HFB Document 1-1 Filed 06/11/07 Page 14 of 50 PagelD #: 14

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Case 1:O7-cv-01050-HFB Document 1-1 Filed 06/11/07 Page 15 of 50 Page|D #: 15

THE RAY LAW FIRM, P.A.

MICHAEL D. RAY
ATTORNEY AT LAW

FlLED FOR REC RD
at [Q;[§ o'c|ock M

]anuary 4, 2007 JAN 0 5 mm

U H,_C|R lTCLERK
By C

Circuit Clerk’s Office
205 E. Jefferson
Hamburg, AR 71646

RE: Larry McKinzie v. Union Planters Bank, NA
Ashley Circuit No.: ‘ CIV - 2006-212-3

Dear Clerk’s Office:
Enclosed you will find an original and one copy of an Affidavit' of Service in regards to
the above matter. Please record and return a file-marked copy back to me in the envelope

I have provided.

I thank you for your time.

Sincerely,

QF~WML

]anelle Shumpert

Administrative Assistant

Enclosure

909 MAIN STREET/P.O. BOX 1123 *CROSSE'I`T, AR ' 71635
PHONE: 370-364-5176 ' FAX: 370-364-6503

ease 1:07-cv-01050-HFB Documem 1-1 Filed 06/11/07 Page 1651-lading o'cllzq§ki§gm

at ‘.
JAN 0 5 2007
IN THE CIRCUIT oF ASHLEY COUNTY, ARKANS U 1 mg \T CLERK
CIVIL DIVISION By DC
LARRY MCKJNZIE ArNTIFF
VS. CAsE No. Cv-2006-212-3
UNIoN PLANTERS BANK, N.A.
& JoHN Don DEFENDANTS
MOTION To DISMISS

AND SUPPORTING MEMORANDUM

Comes now the separate defendant5 Union Planters Bank, N.A. (“Union Planters”), and for
its motion to dismiss, states:

l. Union Planters merged into Regions Financial Corporation (“Regions”) more than one
year before the filing of the complaint herein and ceased to exist as a separate entity on or after that
date. See, e.g., Exhibits l, 2 and 3 hereto. Paragraph 3 of the complaint acknowledges the merger.
Therefore, the complaint should be dismissed as Union Planters is not a proper party defendant

2. The complaint should also be dismissed pursuant to Rule 12(b)(4) for insufficiency of
process. The summons issued in this case was issued in the name of Union Planters Bank, N.A., an
entity that was merged into Regions more than a year before the filing of the complaint herein.
Therefore, the summons is defective. Vinson v. Rr'tter, 86 Ark. App. 207, 167 S.W.Bd 162 (2004).
Further, Union Planters was, and Regions Financial Corporation and Regions Bank are, out-of-state
banks or financial services corporations who are entitled to thirty days after valid service in which
to serve a responsive pleading. Regions Financial Corporation is a foreign corporation organized
under the laws of the State of Deleware, and Regions Bank is a state bank organized under the laws
of the State of Alabama With its principal place of business in Birmingham, Alabama. Therefore, the
summons issued herein is also defective in that regard. Vinson v. Ritter, supra

3. The complaint should also be dismissed pursuant to Rule 12(b)(5) for insufficiency of

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service of process. Pursuant to Rule 4(d)(8), service by mail must be served upon a defendant’s
registered agent and the person signing the postal return receipt must be authorized in accordance
with the United States Postal Regulations. Neither of those requirements is met in the present case.
However, more importantly, Ark. Stat. Ann. Section 23-48-1007 provides that the registered agent
of a registered out-of-state bank is the bauk’s agent for service of process. The registered agent of
Regions is The Corporation Company. See Exhibit 4 hereto. The attempted service was addressed
to Union Planters Bank, N.A. in Jonesboro and in West Memphis, neither person was the registered
agent of either Regions or Union Planters. See Exhibit 5 hereto. Therefore, the complaint should
be dismissed for insufficiency of service of process.
4. The defendant reserves the right to plead further upon resolution of this motion to dismiss
or as warranted by further developments in this matter.
WHEREFORE, the separate defendant Union Planters Bank, N.A., moves the Court to
dismiss the plaintiffs complaint as stated herein.
FRIDAY, ELDREDGE & CLARK, LLP
400 West Capitol Avenue, Suite 2000
Little Rock, Arkansas 72201

(501) 370-1510
(501) 244-5342

BY: }A(MM '
WILLIAM A. WADDELL, JR.
ARK. BAR ID NO. 84154

CaSe 1:07-cv-01050-HFB Document 1-1 Filed 06/11/07 Page 18 of 50 Page|D #: 18

CERTIFICATE OF SERVICE

 

I certify that a copy of the foregoing has been served on the following persons via United
States Mail, postage prepaid, on this Z,r¢k day of January, 2007:

Chuck Gibson, Esq.
GIBSON LAW OFFICE
P. O. Box 510

Dermott, Arkansas 71638

n Michael D. Ray, Esq.
THE RAY LAW FIRM--
P. O. Box 1123

Crossett, Arkansas 71635
/<\w...a\ M/

WILLLAM A. WADDELL, JR.

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k ___ Search |ncorporations, Cooperatives, Banks and |nsurance Con

Ela-ci`ion:-

Corporation Narne UN|ON PLANTERS CORPORAT|ON
Fictitious Names N/A

i=iiing # 100076569

Filing Type Foreign For Prot'lt Corporation

Filed under Act For Bus Corp; 958 of 1987

Status Merged

Principal Address

Reg. Agent CORPORATE CREAT|ONS NETWORK |NC.E
Agent Address 3208 ASHER AVENUE

L|TTLE ROCK, AR 72204

time noon AR 12201 Date F"ed 03/31/1989
501`__§€@010 Oft“lcers JAci<soN W. iviooRE, President

E. JAMES HOUSE, JR., Secretary
GREGORY METZ , Vice-President

Foreign Name N/A

Foreign Address 67 |V|AD|SON AVE, MEMPH|S, TN 38103
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State of Origin TN

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F:“:;: gri Corporation Name UN|ON PLANTERS NATIONAL BANK

      

Fictitious Names Ni'A
Fili`ng # 200000788
Fi'|ing Type Bank
Filed under Act Bank; Bank
Status Merged
Principa| Addi’ess
Reg. Agent
Agent Address

E§§§:§|HRR?‘R§§$ Date Filed 10/13/1997

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COrpOration Name UN|ON PLANTERS BANK OF NORTHEAST ARKA

Fictitious Names NIA

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REG[ONS FINANC|AL CORPORAT|ON
N/A

800053808

Foreign For Profit Corporation

For Bus Corp; 958 of 1987

Good Standing

CORPORAT|ON SERVICE COMPANY
101 SOUTH SPR|NG STREET, STE 220

L|TTLE ROCK, AR 72201
03/08/2005

R ALAN DEER , lncorporatori'Organizer
R ALAN DEER , Secretary

JACKSON W. MOORE , President

D. BRYAN JORDAN , Treasurer
RONNY JACKSON , Contro|ler

N/A

417 NORTH 20TH STREET
B|RMINGHAM, AL 35202

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REG!ONS F|NANC|AL CORPORAT!ON
NIA

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Foreign For Protit Corporation

For Bus Corp; 958 of 1987

Merged

THE CORPORAT|ON COMPANY
425 WEST CAP[TOL AVENUEl STE 1700

L|T|`LE ROC|'(l AR 72201
03/30/1999

CARL E. JONES, JR, President

E C STONE, Vice-Prestdent

SAMUEL E. UPCHURCH, JR, Secretary
R|CHARD D HORSLEY, Treasurer

NIA

417 NORTH 20TH STREET
BIRMINGHAM, AL 35203

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THE RAY LAW FIRM, P.A..

MIC.HAE.L D. RAY
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HERSCHEL |i. F|\IDAY (l‘)]Z-l‘)‘)+)
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T]-lOMAH P` LEGGE'|`]'. l'.r\.
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Mr. Bob Rush

Ashley

Courthouse, 205 East Jet`ferson Street
Hamburg, AR 71646

207-CV-OlOBO-HFB DOCUment 1-1 Filed 06/11/07

FRiDAY ELDREDGE & CLARK

ATTORNE`(S AT LAW
A L|MlTED L|AB|L|T¥ PARTNERSH|F'

www.fridayfirm.com

WALTER M. EHEL lll, |’.A.
KEV[N A. CRASS. F..»\.

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SCOTT ]. LANCASTER, P.A.
RUBERT ll DEACH. ]R.. P.A.

], LEE BROWN, l’.A`

]AM|`¢S C. BAKE'R, |R., P.A.
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FAX 501-376-2147

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FAYETTEV\LLE, ARKANSAS 72703-4511
TELEPHONE 479-685-201|

FAX |79-695-2147

599 HDRSEBARN ROAD. SU|TE 101
ROGERS. ARKANSAS 72755
TELEP|'(ONE 479-695-2011

FAX 479-845-4363

January 2, 2007

MAvaN L. CHll,nF.RS

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BRENDA BENNETT
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TEL 501-370-3314
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Re:

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County Circuit Clerk

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Larry McKinzie v. Union Planters Bank
CV 2006-212-3

Dear Mr. Rush:

Enclosed please find the originally executed Defendants’ Motion to Dismiss and Supporting

Memorandum in the above-referenced matter. This document was filed by fax today.

Should you have any questions with regard to this flling, please feel free to give me a call.

Tha;nk you for your assistance

Sincerely yours,

FRIDAY, ELDREDGE & CLARK, LLP

bwjl,w:d“

Brenda Bennett
Assistant to William A. Waddell, Jr.

Enclosure

CCZ

Chuck Gibson
Michael D. Ray
Joey Williams
Bert Spence

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le FAX_ 870 853-2034 at : o-clock M
Mr. Bob Rush
Asliley County Circuit Clerk JAN 0 2 2007
Courthouse, 205 East Jeff`erson Street RUSH l lT ERK
nambmg, AR 71646 ' c'

Re: Larry McKinzie v. Union Planters Bank
CV 2006-212-3

Dear Mr. Rush:

Attached please find Defendants’ Motion to Dismiss and Supporting Memorandum
in the above-referenced matter. Please cause this document to be filed today and fair the file-marked
first page to me at 501-3'!\‘5-2017J along with the statement for your services. Pursuant to your
directions, an originally executed counterpart will follow by mail.

Should you have any questions with regard to this filing, please feel free to give me a call.
Tharil< you for your assistanceh

Sinoerely yours,
FRLDAY, ELDREDGE & CLARI<, LLP

renda Benne
Assistant to William A. Waddell, Ir.

Attachrnent

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Case 1:07-cv-0?Ll0150-HFB Document 1-1 Filed 06/11/07 Page 27 of 50 Page|D #.|W?

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(50|) 376-2011
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(50|) 370-3314

TELBCOPY TO FOLLOWING NUMBER: 870-853-2034

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IN THE CIRCUIT OF ASHLEY COUNTY, ARKANSAS

CIV[L DIV"[SION F| OR REC
LARRY McK]NZIE al o'c|ock g AJNTI'FF

VS_ CASE NO. CV-2006-212-3 jAN 0 2 200

UNION PLANTERS BANK, N.A. 1 _ t
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AND surroan _MnMoaANi)uM

 

Comes now the separate defendant, Union Planters Bank, N.A. (“Union Planters”), and for
its motion to dismiss, states:

1. Union Planters merged into Regions Financial Corporation (“Regions”) more than one
year before the filing of the complaint herein and ceased to exist as a separate entity on or after that
date. See, e.g., Exhibits l, 2 and 3 hereto. Paragraph 3 of the complaint acknowledges the merger.
Therefore, the complaint should be dismissed as Union Planters is not a proper party defendant

2. The complaint should also be dismissed pursuant to Rule lZ(b)(4) for insufficiency of
process. The summons issued in this case was issued in the name ofUnion Planters Bank, N.A., an
entity that was merged into Regions more than a year before the filing of the complaint herein
Therefore, the simmons is defective Vin.s'cn v. Rizrer, 86 Ark. App. 207, 167 S.W.3d 162 (2004).
Furtl:ier, Union Planters was, and Regions Fi.nancial Colporation and Regions Bank are, out-of-state
banks or inancial services corporations who are entitled to thirty days after valid service in Which
to serve a responsive pleading Regions Financial Corporation is a foreign corporation organized
under the laws of the State of Deleware, and Regions Bank is a state bank organized under the laws
of the State ofAlabama with its principal place of business in Birniingham, Alabarna. Therefore, the
summons issued herein is also defective in that regard. Vz'nson v. Rz'z‘rer, supra

3. The complaint should also be dismissed pursuant to Rulc 12(b)(5) for insufficiency of

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service of process. Pursuant to Rule 4(d)(8), service by mail must be served upon a defendant’s
registered agent and the person signing the postal return receipt must be authorized in accordance
with the United States Postal Regulations. Neither of those requirements is met in the present case.
However, more importantly, Ark. Stat. Ann. Section 23-48-1007 provides that the registered agent
cfa registered out~of~state bank is the bank’s agent for service of process The registered agent of
Regions is The Corporation Company. See Exhibit 4 hereto. The attempted service was addressed
to Union Planters Bank, N.A. in Jonesboro and in West Memphis, neither person was the registered
agent of either Regions or Union Planters. See Exhibit 5 hereto. 'l`herefore, the complaint should
be dismissed for insufficiency of service of process
4. The defendant reserves the right to plead further upon resolution of this motion to dismiss
er as warranted by farther developments in this matter.
WHEREFORE, the separate defendsnt, Union Planters Bank, N.A., moves the Court to
dismiss the plaintift" s complaint as stated herein.
FR]DAY, ELDREDGE &, CLARK, LLP
400 West Capitol Avenue, Suite 2000
Little Rock, Arkansas 72201

(501) 370-1510
(501) 244-5342

BY: )A<dh(...g` deM/\l>\: ,
WII,LM A. WADDELL, JR.
ARK. BAR rD NO. 84154

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CERTIFICATE OF SERVICE

 

I certify that a copy of the foregoing has been served on the following persons via United
States Mail, postage prepaid, on this ZLA_ day of January, 2007:

Chuck Gibson, Esq.
GIBSON LAW OFFICE
P. O. Box 510

Dermott, Arkansas 71638

Michael D. Ray, Esq.
TH]-E`, RAY LAW F]R.M
P. O. Box 1123

Crossett, A.rkansas 71635

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Corporation Narne UNION PLANTERS CORPORATION

Fictitious Names NIA

Fi|ing # 100076569

Fi|ing Type Foreign For Protit Corporation

Filed under Act For Bus Corp; 958 ot1987

Stetus Merged

Principa| Address

Reg. Agent CORPORATE CREATIONS NETWORK lNC_E

Agent Add rees 3208 ASHER AVENUE

_ LnTLE Roci<. AR 72204
Y;g§g%pz§g$ mate Filed 0313111989
5°‘“§§°‘° owners JAcKsoN w. Mooae, Presiaent

E. JAMES HCJUSEl JR., Secretary
GREGOR¥ METZ , Vice-President

Foreign Name N/A

Foreign Address Jt_S_:?>|;Jit'¢\DlSON AVE, MEMPHIS, TN 38103

State of Origin TN

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Corporation Name UN|ON PLANTERS NATIONAL BANK
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Fi|ing # 200000788

Fi|ing Type Bank

Filed under Act Bank; Bank

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Reg. Agent
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Fietitious Names NIA

Fiting # 200000143

Fi|ing Type Bank

Filed under Act Bank; Bank

Status Merged

 

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REGIONS F|NANC|AL CORPORAT|ON
NIA
BOODSSBDB

Filing Type Foreign For Proht Corporat]on
Flied under Act For Bus Corp; 958 of 1987
Status Good Standing

Prtncipa| Address

Reg. Agent coRPoRATloN sEvacE coMPANv

Agent Addrese 101 SOUTH SF'RING STREET, STE 220
L|TTLE ROCK, AR 72201

me Ro§k_ AR 72201 Date Filed 03108/2005
501§:‘,,_;'_§01° Ortieers R ALAN DEER , lneorporatorlOrganizer

R ALAN DEER, Secretary
JACKSON W. MOORE , President
D. BRYAN JORDAN , Treasurer
RONNY JACKSON , Contro|ler

Foreign Name NIA

Foreign Address 417 NORTH 20TH STREET
BlRM|NGHAM. AL 35202

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REGlONS FlNANClAL CORPORAT|ON
NIA

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Foreign For F'rottt Corporation

For Bus Corp; 958 of 1987

Merged

THE CORPORATlON COMPANY
425 WEST CAP|TOL AVENUE, STE 1700

L|TTLE ROCK, AR 72201
03130/1999

CARL E. JC)NESl JR, President

E C STONE, Vioe-President

SAMUEL E UF'CHURCH, JR Secretary
RlCHARD D HORSLEY. 'l’reasurer

NIA

417 NORTH 20TH STREET
BIRN||NGHAM, AL 35203

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THE RAY LAW FIRM, P.A..

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Case 1:07-cv-01050-HFB Document 1-1 Filed 06/11/07 Page 37 ot 50 Page|D #: 37

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ll\l THE CIRCUIT COURT OF ASHLEY COUNTY, ARKANSAS

1)0MEST1C RELAT\{)NS l)lvtsloN JAN 19 2007
LARRY MCKINZ\E, No. Civ-zoo(»-ziz-s BB\_?B§:. SH\ CiYU|T Cil_§té
l’laintiff

RESPONSE 'FO MOT|ON T() DISMISS
vs.

UNION PLANTERS BANK, N.A.,

 

Defendant

 

COMES NOW the plaintit`t`, l_,arry McKinzie, and states as follows t`or his
response:

l . Plaintit`t"s Complaint contains allegations in form ol`“.lohn Doe" pleadings
designed to preserve plaintift"s allegations against entities that were unknown to the
plaintil`i".

2. ln the de["cndant’S l\/lotion to Dismiss, the defendants states that Union
Planters has merged With Regions F`inancial Corporation. l’laintit`l` preserves the
opportunity to bring suit against Union Planters Bank successor in interest by utilization
ot" the .lohn Doc allegations Additional|y, the plaintiff identified another .lohn Doe
defendant bearing the Region’s name. l~lo'vvevc-:r1 as explained in the Complaint, it was
not easily ascertainable as to Which Regions entity commented the transgression
mentioned in the Complaint. Plaintit`l` preserved those allegations with .lohn Doe
pleadings

3. Plaintit`i`is presently in the process of amending his Complaint to include
Regions Financial Corporation- as the defendant’s successor in interest to the original
plaintit`t` Union Planters Bank. The defendant’s Motion to Dismiss implies that the other

.lohn Doe defendant is Regions Bank, an Alahama State Bank. I-lowcvcr, the defendant is

Case 1:07-eV-01050-HF_B Doeument 1-1 Filed 06/11/07 Page 38 of 50 Page|D #: 38

not entirely clear on this point and theret`ore. discovery will need to occur before this
amendment is made with regard to the Regions .lohn Doe del`endant.
4. 'I`he reasons ot` Regions` Motion to l)ismiss should he denied.
WI-ll‘"iRl?£l"`()RE. plaintil"l"s prays that defendant’s i\/lotion to Dismiss he denied;
and l`or all other j ust and proper reliel".
Glenda l`~`aye Moss, Plaintil"l`
Gibson Law 011-lee

cr:n'rlr'lr':i\'ri; oFsEvaeE 103 North Freeman Street
Post Ot`tiee Box 510

 

'l`he herein signed certifies that a

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t`nregning has been delivered via T€l€pl`|()l`l€! (870} 538-3288
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Michacl D. Ray, # 92146
The Ray Law Firm

P.O. Box 1123

Crossett. AR 71635
Telephone: (870) 364-5 176
Facsimile: (870) 364-6503

Case 1:07-ev-01050-HFB Doeument 1-1 Filed 06/11/07 Page 39 of 50 Page|D #: 39

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Gibson Law Offlce
103 North Freeman Street
Post Office Drawer 510
Dermott, Arkansas 71638-0510

John F. Gibson Sr. Te|ephone
(1916-1980) (870) 538-3288

Char|es Sidney Gibson Facsimi|e
Chuck Gibson (870) 538-5029

 

.lanuary 18, 2007
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at illi§ o'clock
Bob Rush

Ashley County Circuit C]erk .lAN 1 9 2007
205 East .left`erson Street

Hamburg,AR 71646 OB USHtCl UlT CLERK
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RE: Larry McKinzie v. Union Planters Bank, N.A.; John Doe
Ashley County Circuit No. CV-2006-212-3

Dear Mr. Rush

Please find enclosed Response to Motion to Dismiss in the above referenced matter. Please tile
and return a tile-marked copy back to this office in the enclosed a self-addressed stamped
envelope at your earliest convenience

Thank you.

Yours truly

Mr\o>t>

Glenda Moss
Assistant to Chuck Gibson

Enclosures

Cc: Bill Waddell, .lr.

Case 1:07-ev-01050-HFB Doeument 1-1 Filed 06/11/07 Page 40 of 50 Page|D #: 40

IN THE CIRCUIT COURT OF ASI'ILEY COUNTY, ARKANSAS
Civil Division

LARRY M¢KINZIE ' PLAINTIFF
vs. No. ervneziz,s
UNION PLANTERS BANK, N. a; JOHN non DEPENDANT

 

ORDER TO EXTEND TIME TO SERVE DEFENDANT

 

Before this Court is the Motion of Miehael D. Ray and Chuck Gibson to extend time to
Serve Defendant, Union Planters Bank, N.A.; John Doe.

After reviewing the facts and for good cause shown, the Motion is granted and this Court
t hereby extends the Plaintiffs’ time to obtain valid service over the defendant, Union Planters

Bank, N.A.; John Doe for an additional 120 days.

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THE RAY LAW FIRM, P.A.

MICHAEL D. RAY
ATTORNEY AT LAW

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january 8, 2007

Circuit Clerk’s Oche
205 E. ]efferson
Hamburg, AR 71646

RE: ' larry McKinzie v. Union Planters Bank, NA
A.shleyr Circuit No.: CIV - 2006-212-3

Dear Clerk’s Office:

Enclosed you will find an original and one copy of Order to Extend Tirne in regards to the
above matter. Please record and return a file-marked copy back to me in the envelope I
have provided

I thank you for your time.

Sincerely, -

MM/aWa;a

Chrystal Fliclr
Office Assismnt

Enclosure

909 MA]'.N STREET/P.O. BOX 1123 *CROSSETT, AR * 71635
PHONE: 870~`364-5175 - FAX: 870'364»6593

Case 1:07-ev-01050-HFB Doeument 1-1 Filed 06/11/07 Page 42 of 50 Page|D #: 42

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IN THE CIRCUIT COURT OF ASHLEY COUNTY, ARKANSAS

 

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LARRY Mcl<lNzlE at Lo; */D o'c\ock §§ HTWF

vS. CAsE No.: Civ-2006-212-3 MAY 11 2997

 

REGIONS BANK; and B Sl'l,' lRCU !
REGIONS FlNANCIAL eoRPoRATtoN qDANTS

FIRST AMENDED COMPLAINT AT LAW

 

Comes now, Larry MeKinzie, by and through his attorneys, Michael D. Ray and Chuck
Gibson, and for his First Amended Complaint doth state:
l. That Larry McKinzie is an individual resident of Jefferson County, Arkansas.
2. a) That Union Planters Bank, N.A., was a domestic corporation regularly
operating and doing business within the State ot` Arkansas, including
Ashley County, Arkansas. After the times complained of herein, Union
Planters Bank, N.A. was merged into Regions Bank. Regions Bank is a
foreign corporation that regularly conducts business in the State of
Arkansas, including Ashley County, Arkansas.
b) Separate defendant, Regions Financial Corporation is a foreign holding
company that owns, manages, and/or controls Regions Bank of Searcy.
Regions Financial Corporation does business in the State ot` Arkansas,
including Ashley County, Arkansas through various entities and
subsidiaries
c) Regions Bank is a defendant, as successor in interest of Union Planters
Bank, N. A. The allegations and conduct for which plaintiff contends

Regions Bank is now liable because of the merger with Union Planters

Case 1:07-ev-01050-HFB Doeument 1-1 Filed 06/11/07 Page 43 of 50 Page|D #: 43

Bank1 N.A. will be referred to as having been committed by Union
Planters Bank, N.A. Likewise, Regions Financial Corporation is the
parent company and/or holding company of Regions Bank of Searcy, and
is the named defendant, but for purposes of clarity, “Regions Bank of
Searcy” will be used in its place throughout the complaint

3. That the initial complaint included John Doe defendants because of the suspected
merger between Union Planters Bank and Regions Bank, and because of
uncertainty regarding the Regions Bank structure as far as Regions Bank of
Searcy is concerned The defendant filed a motion to dismiss, and the plaintiff
responded. Thereafter, plaintiff and defense counsel conferred and agreed that the
two named defendants in the first amended complaint are the appropriate
defendants, and counsel for said defendants, William Waddell, Attorney at Law,
as agreed to accept service for the same.

4. That this court hasjurisdiction over the parties and subject matter of this case and
venue is predicated upon A.C,A. 16-60-108 and 16-60-113(b) in that Union
Planters Bank, N.A. has debts in its favor in Ashley County and has brought
litigation against plaintiff in Ashley County.

5. That on or about August 30, 2004_, a complaint was filed by Union Planters Bank,
N.A. [“Union Planters”] against Larry McKinzie, alleging that Larry McKinzie
entered into a contract with the Union Planters in the sum of $13,250.00 plus
interest at the rate of ll% per annum. See Ashley Circuit No. CV-04-219-2.
That on or about August 30, 2004, a Complaint Was filed by Union Planters Bank,

N.A. against Larry MeKinzie, alleging that Larry MeKinzie entered into a

Case 1:07-cv-01050-HFB Document 1-1 Filed 06/11/07 Page 44 of 50 Page|D #: 44

contract with the Defendant in the sum of $13,250.00 plus interest at the rate of
l l% per annum.

6. That the plaintiff has never done business With the defendants at any time.
During the discovery of the above mentioned lawsuit it was learned by the
plaintiff that Union Planters’ agents, officers, directors, and/or employees, namely
Allen Williams and possibly others, were engaging in a scheme with K&B Auto
Sales [K&B], a domestic used car dealership that had a regular business
relationship With Union Planters

7. That the scheme was such that K&B and the defendant would create phony
documents for the sale of automobiles and other loans. Such documents were
created using plaintiffs name and likeness, with forged signatures notarized by
defendant’s employee Angela K. Tinsley, Notary Public. 'fhe documents
included buy may not be limited to credit applications and powers of attorney.
Many documents were countersigned by Allen Williams, defendant’s loan officer
and employee At no time did plaintiff authorize said documents or benefit from
their use.

8. That the scheme Was such that the documents provided a mechanism where
money would transfer from Union Planters to K&B under the illusion of selling
and financing an automobilel The scheme worked to the detriment of those
defrauded. That the defendant, by virtue of the involvement of its employee loan
officers and others and subseque4nt unsuccessful lawsuit, Was aware of the

scheme and a direct and willing participant

Case 1:07-cv-01050-HFB_ Document 1-1 Filed 06/11/07 Page 45 of 50 Page|D #: 45

9. That the phony loans falsely created in the name of the plaintiff went into default
resulting in the above mentioned lawsuit.

10. That the scheme was brought to light in the discovery process in said lawsuit,
resulting in the defendant filing for voluntary non-suit, which was granted on
September 30, 2005 by the court, and filed for record on October l3, 2005 [See
Ashley Circuit No. CV-04-219-2].

l l . That prior to the defendant filing suit on the phone loans the Union Planters and
or its agents made negative credit comments on plaintiffs credit report to the
various credit reporting agencies Said comments ultimately resulted in the denial
of credit to the plaintiff

12. That the plaintiff was completely unaware of said fraudulent scheme at all times.
That the defendant Was informed by the plaintiff prior to the initial litigation that
he had never done business with them and that any such signatures and/or
documents were not genuine Defendant continually harassed the plaintiff over
said bogus notes, being fully aware of their false character and of their fraudulent
creation. Nevertheless, the defendant pursued the litigation and continued to
make false credit entries

13. in addition to the foregoing scheme with Union Planters, the plaintiff also
received dunning notices and similar harassments from an entity named “Regions
Bank of Searcy”. Based upon information and belief a bogus contract in
plaintiff’s name was executed in favor of Regions Bank of Searcy, upon which

Regions Bank of Searcy sought collection. Upon information and belief, Regions

Case 1:07-cv-OlO50-HFB Document 1-1 Filed 06/11/07 Page 46 of 50 Page|D #: 46

Bank of Searcy made negative comments regarding plaintiffs credit to various
reporting agencies. Said credit reports were false and slanderous
Countl
Tort-lnvasion of Privacy
Both Defendants

14. That by deceptively doing business in the plaintiffs name, the defendants have
committed the tort of invasion of privacy. Plaintift`s likeness was unknowingly
used to his detriment resulting in being sued [only Union Planters filed suit],
expending moneys for attorneys fee, negative credit comments resulting in credit
denials, and other similar occurrences

15. That the tort subjects the defendants to liability under Arkansas Law for
compensatory, consequential and punitive damages for which defendants’
conduct is a direct proximate cause.

Count Il
Tort-Malicious Prosecution
Union Planters and Separate Defendant Regions Bank, as Successor

16. That the lawsuit filed by Union Planters against the plaintiff on the bogus
fraudulent scheme resulted in a dismissal in plaintiffs favor. Said suit was
frivolous and based entirely on the fraudulent ongoing scheme between the
defendant and K&B. Plaintiff incurred compensatory and consequential damages

for which defendant‘s conduct is a proximate cause. Punitive damages should

issues to deter similar conduct in the future.

Case 1:07-cV-01050-HFB` Document 1-1 Filed 06/11/07 Page 47 of 50 Page|D #: 47

Count 111
Statutory Claim-Fair Credit Reporting Act
Both Defendants
17. That falsely reporting the obligation that Union Planters Bank, N.A. claimed was
owned by Isarry McKinzie to his credit reporting agency constitutes a violation of
the Fair Debt Collection and Consumer Reporting Practices, 15 U.S. C. 1681,
et..s'eq. Defendant is liable for damages provided by said Act.

WHEREFORE, Plaintiff prays for a jury trial. Plaintiff prays for judgment over the
against the defendants for each claim for damages allowed by Arkansas Law, and for punitive
damages appropriate under Arkansas jurisprudence Plaintiff seeks reimbursement for costs,
attomey’s fees, and other similarly allowed relief.

Respectfully Submitted,

Larry McKinzie, Plaintiff

 

 

Gibson Law Office
CERTIFlCATE or sEvaCE 103 North Freeman Street
'|`hc herein signed certifies that a POSt Och€ Box 510
true and correct copy ()f` the DCI'mOtt, A['kallSaS 71638'05l0
t`orcgoing has been delivered via Te]ephone; (870) 538-3288
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Michael D. Ray, # 92146
The Ray Law Firm

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Crossett. AR 71635
Telephone: (870) 364-5176
Facsimile: (8?0) 364-6503

Case 1:07-cv-01050-HFB Document 1-1 Filed 06/11/07 Page 48 of 50 Page|D #: 48

Gibson Law Offlce
103 North Freeman Street
Post Office Drawer 510
Dermott, Arkansas 71638-0510

 

John F. Gibson 5r. Te|ephone
(1916-1980) (870) 538-3288
Charles Sidney Gibson Facsimi|e
Chuck Gibson (870) 538-5029
May 10, 2007
Bob Rush

Ashley County Circuit Clerk
205 East Jefferson Street
l~lamburg, AR 71646

RE: Larry McKinzie vs. Regions Bank and Regions Financial Corpomtion
Ashfey County Circuit No.: CIV-2006-212-3

Dear Mr. Rush

Please find enclosed First Amended Complaint in the above referenced matter. Please file the
same and return a file-marked copy to my office in the enclosed self»addressed stamped envelope
at your earliest convenience Thank you.

Yours truly

/Hesaar\o>b

Glenda Moss
Legal Assistant to
Chuck Gibson

Enclosures

cc William Waddell, .lr.

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Case 1:07-cv-01050-HFB Document 1-1 Filed 06/11/07 Page 49 of{H MM`W{M;()RB
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LARRY MCKINZIE ' PLAINTIFF

vs. cAsE No.= civ -2006-212-3

REGIoNs BANK; and

REGIoNs FINANCIAL CoRPoRA'rIoN nEFENr)ANTs
AFFIDAVIT oF sEvacE

 

NOW COMES Affiant, Chuck Gibson, Plaintiff's counsel, and upon his oath,
states that the Amended Complaint was mailed to the Defendants’ counsel, William
Waddell, Jr. on May 10, 2007, whom agreed to accept service and waive personal service
on the defendants herein.

Larry McKinzie, Plaintiff

 

Gibson Law Office
CERTiFiCATE oF sERviCE 103 North Freeman Street
. . __ Post Office Box 510
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foregoing has been delivered via TCi€phOl‘l€I (870) 538~3288

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Wi|liam A. Waddell. Jr.

 

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MAY 17 2001

Bob Rush
Ashley County Circuit Clerk @/Q)SH“CR§UIT CLEl§)l'é
205 East Jefferson Street By

Hamburg, AR 71646

May 16, 2007

RE: Larry McKinzie vs. Regions Bank and Regions Financial Corporatr'on
Ashley County Circuit No..' CIV-2006-212-3

Dear Mr. Rush

Please find enclosed Affidavit of Service in the above referenced matter. Please file the same
and return a file-marked copy to my office in the enclosed self-addressed stamped envelope at
your earliest convenience. Thank you.

Yours truly

Attatain@

Glenda Moss
Legal Assistant to
Chuck Gibson

Enclosures

cc William Waddell, Jr.

